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MINUTE ENTRY
MORGAN, J.
FEBRUARY 18, 2015

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

KURIAN DAVID, et al                              CIVIL ACTION
VERSUS                                           NO. 08-1220
SIGNAL INTERNATIONAL, LLC, et al                 SECTION "E" (3)


 EQUAL EMPLOYMENT OPPORTUNITY                     CIVIL ACTION
 COMMISSION

 VERSUS                                           NO. 12-557

 SIGNAL INTERNATIONAL, LLC, et al                 SECTION "E"


 LAKSHMANN PONNAYAN ACHARI, et al                 CIVIL ACTION

 VERSUS                                           NO. 13-6218
                                                  (c/w 13-6219, 13-6220,
                                                   13-6221, 14-732, 14-1818)

 SIGNAL INTERNATIONAL, LLC, et al                 SECTION "E"



 Applies To:
 David v. Signal
 (No. 08-1220)

                                    JURY TRIAL

                       JUDGE SUSIE MORGAN, PRESIDING


WEDNESDAY, FEBRUARY 18, 2015 AT 8:00 A.M.

COURTROOM DEPUTY:       Cesyle Nelson
COURT REPORTER:         Terri Hourigan
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APPEARANCES:                   Alan B. Howard, Daniel Werner, Naomi Tsu, Hugh Sandler, Melia
                               Amal Bouhabib and Meredith Stewart for Sony Vasudevan Salekha,
                               Palanyandi Thangamani, Hemant Khuttan, Padaveettiyil Issac
                               Andrews, and Jacob Joseph Kaddakkarappally (hereinafter referred
                               to as "plaintiffs");

                               Erin C. Hangartner, Hal D. Ungar, Elham Rabbani, Brian C. Roux,
                               Lance R. Rydberg, Lauren M. Davis, and Patricia A. Bollman for
                               Signal International LLC, Signal International, Inc., Signal
                               International Texas GP, LLC, and Signal International Texas, L.P.
                               (hereinafter referred to as "Signal");

                               Timothy W. Cerniglia for Malvern C. Burnett, Law Offices of Malvern
                               C. Burnett, A.P.C., and Gulf Coast Immigration Law Center, L.L.C.
                               (hereinafter referred to as "Burnett");

                               Stephen H. Shapiro, for Sachin Dewan, and Dewan Consultants, Pvt.,
                               Ltd. (hereinafter referred to as "Dewan")


JURY TRIAL

Continued from February 13, 2015.

Jury resumed deliberations at 8:00 a.m.

Jury returned from deliberations at 2:50 p.m. with its verdict as to stage 2.

Court thanked jury for their service and they were excused.

Plaintiffs counsel advised the Court that they would be moving under rule 54(b) to have the jury
verdict rendered a final judgment.

Court adjourned at 3:20 p.m.




 JS-10: 0:35
